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FILED
IN THE UNITED STATES DISTRICT COURT APR -? 2025
FOR THE NORTHERN DISTRICT OF OHIO . cee eouien
EASTERN DIVISION NORTHERN DISTRICT OF OHIO
UNITED STATES OF AMERICA, ) INDICTMENT
: 35
Plaintiff, ) - )
) 4 t25CR 9 01.
v. ) CASE NO.
) Title 18, United States Code,
MICHAEL NAWALENIEC, ) Sections 2, 922(g)(1), 922(0),
) 924(a)(2), and 924(a)(8); Title
Defendant. ) 26, United States Code, 5841,
) 5861(d), 5871

COUNT | JUDGE NUGENT

(Felon in Possession of Firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))
The Grand Jury charges:

1. On or about December 28, 2022, in the Northern District of Ohio, Eastern
Division, Defendant MICHAEL NAWALENIEC knowing he had previously been convicted of a
crime punishable by imprisonment for a term exceeding one year, that being: Arson, on or about
March 22, 2012, in case number CR 11-557326-A, in the Cuyahoga County, Ohio, Court of
Common Pleas, knowingly possessed in and affecting interstate and foreign commerce a firearm,
to wit: a Romarm Cugir Micro Draco, 7.62x39 caliber pistol, bearing serial number PMD-08212-
18 RO, said firearm having previously been shipped and transported in interstate and foreign
commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 2
(Illegal Possession of Machinegun, 18 U.S.C. §§ 922(0) and 924(a)(2) & 2)

The Grand Jury further charges:
2. On or about January 4, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC did knowingly possess a machinegun, to wit: a

machinegun conversion device (“Glock switch), that is a combination of parts designed and
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intended for use in converting a weapon into a machinegun, in violation of Title 18, United
States Code, Sections 922(0), 924(a)(2) and 2.

COUNT 3
(Felon in Possession of Firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:

3. On or about January 19, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, that being: Arson, on or about March
22, 2012, in case number CR 11-557326-A, in the Cuyahoga County, Ohio, Court of Common
Pleas, knowingly possessed in and affecting interstate and foreign commerce a firearm, to wit: a
Steyr Arms rifle, model AUG-A3, .223 caliber, bearing serial number 29USA826, said firearm
having previously been shipped and transported in interstate and foreign commerce, in violation
of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 4
(Illegal Possession of Machinegun, 18 U.S.C. §§ 922(0) and 924(a)(2))

The Grand Jury further charges:

4, On or about January 19, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC did knowingly possess a machinegun, to wit: a
machinegun conversion device (“Glock switch”), that is a combination of parts designed and
intended for use in converting a weapon into a machinegun, in violation of Title 18, United
States Code, Sections 922(0) and 924(a)(2).

COUNT 5 (Ardmore)
(Felon in Possession of Firearms, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:
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5. On or about February 1, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, that being: Arson, on or about March
22, 2012, in case number CR 11-557326-A, in the Cuyahoga County, Ohio, Court of Common

Pleas, knowingly possessed in and affecting interstate and foreign commerce firearms, to wit:

Firearm Caliber Serial Number
Glock 19 pistol 9mm BKVA176
Spike’s Tactical Multi-caliber CH02126
Crusador Rifle

Smith & Wesson 500 DNA1728
500 Revolver

Fabrique National 308 FN33045
Herstal Rifle

Glock 19X pistol 9mm BWHD590

Glock 44 22 AEZB735

Intratec Tech 22 22 050893
pistol
Intratec Tech 9 9mm 131533
pistol
Ruger10-22 Rifle 22 358-59641
Fabrique National 12 gauge 11BZV05485
Herstal Shotgun

said firearms having previously been shipped and transported in interstate and foreign
commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 6 —(Eichorn)
(Illegal Possession of Machineguns, 18 U.S.C. §§ 922(0) and 924(a)(2))

The Grand Jury further charges:
6. On or about February 1, 2023, in the Northern District of Ohio, Eastern Division,

Defendant MICHAEL NAWALENIEC did knowingly possess machineguns, to wit: four (4)

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machinegun conversion devices (“Glock Switches”), that is a combination of parts designed and
intended for use in converting a weapon into a machinegun, in violation of Title 18, United
States Code, Sections 922(0) and 924(a)(2).

COUNT 7 (Eichorn)
(Possession of an Unregistered Firearms, 26 U.S.C. §§ 5841, 5861(d) and 5871)

The Grand Jury further charges:

7. On or about February 1, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC, did knowingly receive and possess firearms as defined
in Title 26, United States Code, Section 5845(a)(7), to wit: six (6) firearm silencers as defined in
Title 18, United States Code, Sections 921(a)(3)(C) and (a)(24), not registered to him in the
National Firearms Registration and Transfer Record, as required by Chapter 53, Title 26, United
States Code, all in violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.

COUNT 8 (Eichorn)
(Felon in Possession of Firearms, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:

8. On or about February 1, 2023, in the Northern District of Ohio, Eastern Division,
Defendant MICHAEL NAWALENIEC knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, that being: Arson, on or about March
22, 2012, in case number CR 11-557326-A, in the Cuyahoga County, Ohio, Court of Common

Pleas, knowingly possessed in and affecting interstate and foreign commerce firearms, to wit:

Firearm Caliber Serial Number
Israeli Military 9mm SA12130
Industries Uzi A
Rifle
Sig Sauer SIG multi-caliber 63G018113
MCX pistol

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Magnum Research 50 DK0042954
Desert Eagle Pistol
Fabrique National 5.56 mm FNB033643
Herstal FN-15 Rifle
DSA Inc SA 58 308 DS20616
Rifle
Heckler & Koch 9 mm 271-017638
SP5 Rifle (SBR)
Heckler and Koch AS 47-017379
USC rifle .
Glock 30S pistol 45 WLB960
Fabrique National 9mm GKS0094271
Herstal 509 Pistol

said firearms having previously been shipped and transported in interstate and foreign

commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

FORFEITURE

The Grand Jury further charges:

9. The allegations of Counts 1 through 8 are hereby realleged and incorporated
herein by reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 924(d)(1), Title 26, United States Code, Section 5872, and Title 28, United States
Code, Section 2461(c). As a result of the foregoing offenses, Defendant MICHAEL
NAWALENIEC shall forfeit to the United States any and all firearms and ammunition involved
in or used in the commission of the violations charged in counts 1-6, and 8; and any firearms

involved in or used in the commission of the violation charged in count 7.

A TRUE BILL.
Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
